Case 2:21-cv-04920-WLH-ADS          Document 567   Filed 04/01/25   Page 1 of 3 Page ID
                                         #:26193



   1 Michael J. Bowe                                David M. Stein (#198256)
     (pro hac vice)                                 dstein@olsonstein.com
   2 mbowe@brownrudnick.com                         OLSON STEIN LLP
     Lauren Tabaksblat                              240 Nice Lane, #301
   3 (pro hac vice)                                 Newport Beach, California 92663
     ltabaksblat@brownrudnick.com                   Phone: (949) 887-4600
   4 BROWN RUDNICK LLP
     7 Times Square
   5 New York, NY 10036
     Telephone: (212) 209-4800
   6 Facsimile: (212) 209-4801
   7 Attorneys for Plaintiff
   8                          UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
   9
  10 SERENA FLEITES,                                  CASE NO. 2:21-cv-4920-WLH-ADS
  11                   Plaintiff,
                                                      NOTICE OF LODGING OF
  12             v.                                   PLAINTIFF’S SECOND
                                                      AMENDED COMPLAINT WITH
  13 MINDGEEK S.A.R.L. a foreign entity;              REVISED REDACTIONS
     MG FREESITES, LTD., a foreign
  14 entity; MINDGEEK USA                             Hon. Wesley L. Hsu
     INCORPORATED, a Delaware
  15 corporation; MG PREMIUM LTD, a                   Courtroom 9B
     foreign entity; MG GLOBAL                        SAC Filed: May 23, 2024
  16 ENTERTAINMENT INC., a Delaware                   Trial Date: Not Set Yet
     corporation; 9219-1568 Quebec, Inc.
  17 (d/b/a MindGeek), a foreign entity;
     BERND BERGMAIR, a foreign
  18 individual; FERAS ANTOON, a
     foreign individual; DAVID
  19 TASSILLO, a foreign individual;
     COREY URMAN, a foreign individual;
  20 VISA INC., a Delaware corporation;
     REDWOOD CAPITAL
  21 MANAGEMENT, LLC, a Delaware
     corporation; REDWOOD MASTER
  22 FUND, LTD, a foreign entity;
     REDWOOD OPPORTUNITY
  23 MASTER FUND, LTD, a foreign
     entity; MANUEL 2018, LLC, a
  24 Delaware corporation;
     GINGOGERUM, LLC, a Delaware
  25 corporation; WHITE-HATHAWAY
     OPPORTUNITY FUND, LLC, a
  26 Delaware corporation; COLBECK
     CAPITAL MANAGEMENT, LLC, a
  27 Delaware corporation, CB MEDIA
     VENTURES LLC, a Delaware
  28 corporation; CB AGENCY SERVICES,
                                                                    CASE NO. 2:21-cv-4920-WLH-ADS
                               NOTICE OF LODGING OF PLAINTIFF’S
                      SECOND AMENDED COMPLAINT WITH REVISED REDACTIONS
Case 2:21-cv-04920-WLH-ADS   Document 567   Filed 04/01/25   Page 2 of 3 Page ID
                                  #:26194


     LLC; a Delaware corporation; and CB
   1 PARTICIPATIONS SPV, LLC, a
     Delaware corporation,
   2
                  Defendants.
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                             CASE NO. 2:21-cv-4920-WLH-ADS
                           NOTICE OF LODGING OF PLAINTIFF’S
                  SECOND AMENDED COMPLAINT WITH REVISED REDACTIONS
Case 2:21-cv-04920-WLH-ADS     Document 567       Filed 04/01/25   Page 3 of 3 Page ID
                                    #:26195



   1        Plaintiff Serena Fleites has lodged with the Court Plaintiff’s Second Amended
   2 Complaint with revised redactions based upon the revised sealing designations in
   3 Defendants MindGeek, S.à r.l., MG Freesites Ltd, MG Premium Ltd, MindGeek
   4 USA Incorporated, MG Global Entertainment Inc., and 9219-1568 Quebec Inc.’s
   5 (collectively the “MindGeek Defendants”) Omnibus Application For Leave to File
   6 Documents Under Seal, dated March 28, 2025 (ECF No. 560).
   7        Dated: April 1, 2025           Respectfully submitted,
   8
   9                                       /s/ Michael J. Bowe
  10                                       Michael J. Bowe (pro hac vice)
                                           mbowe@brownrudnick.com
  11                                       Lauren Tabaksblat (pro hac vice)
  12                                       ltabaksblat@brownrudnick.com
                                           BROWN RUDNICK LLP
  13                                       7 Times Square
  14                                       New York, NY 10036
                                           Phone: 212.209.4800
  15                                       Fax: 212.209.4801
  16
                                           David M. Stein (State Bar #198256)
  17                                       dstein@olsonstein.com
  18                                       OLSON STEIN LLP
                                           240 Nice Lane #301
  19                                       Newport Beach, CA 92663
  20                                       Phone: 949.887.4600

  21
                                           Counsel for Plaintiff
  22
  23
  24
  25
  26
  27
  28
                                              1                    CASE NO. 2:21-cv-4920-WLH-ADS
                            NOTICE OF LODGING OF PLAINTIFF’S
                   SECOND AMENDED COMPLAINT WITH REVISED REDACTIONS
